989 F.2d 485
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.UNITED STATES, Appellee,v.Aldemar OREJUELA, Defendant, Appellant.
    No. 92-1971.
    United States Court of Appeals,First Circuit.
    March 9, 1993.
    
      Appeal from the United States District Court for the District of Rhode Island
      Aldemar Orejuela on brief pro se.
      Lincoln C. Almond, United States Attorney, Margaret E. Curran and Kenneth P. Madden, Assistant United States Attorneys, on brief for appellee.
      D.R.I.
      AFFIRMED.
      Before Breyer, Chief Judge, Torruella and Cyr, Circuit Judges.
      Per Curiam.
    
    
      1
      Contrary to appellant's contention, the increased maximum penalties and the supervised release provisions of the Anti-Drug Abuse Act of 1986, Pub. L. No. 99-570, 100 Stat. 3207 (ADAA) became effective on the date of the ADAA's enactment, i.e., October 27, 1986.   Gozlon-Peretz v. United States, 498 U.S. 395 (1991).  The no-parole provisions of the ADAA became effective on that date, as well.  United States v.  De Los Santos-Himitola, 924 F.2d 380, 381 (1st Cir. 1991).  And, although Gozlon-Peretz involved 21 U.S.C. § 841 (controlled substances), we have held that its rationale applies equally to the parallel provisions in 21 U.S.C. § 960.  Padilla Palacios v. United States, 932 F.2d 31, 33-34 (1st Cir. 1991).  The appellant committed violations of both 21 U.S.C. § 841 and 21 U.S.C. § 960 in April 1987.  His sentences of 25 years of imprisonment on each of the four counts, to be served concurrently, and his sentences of 20 years of supervised release on the two substantive counts, to be served concurrently, are lawful and his arguments to the contrary are foreclosed by the above-cited precedent.
    
    
      2
      Appellant appears also to argue that amendments to the penalty provisions of 21 U.S.C. §§ 846 and 963 (the coordinate conspiracy provisions), enacted on November 18, 1988, were unlawfully applied to him.  Even if intended as a separate argument, however, we have rejected it in a prior post-conviction appeal brought by one of appellant's co-defendants.  United States v. Sigifredo Gonzalez, No. 90-1088, slip op. at 3-6 (1st Cir.  Sept. 11, 1990).  We reject it here as well for the reasons stated in that Gonzalez opinion.
    
    
      3
      The order of the district court denying this post-conviction motion is affirmed.
    
    
      4
      Affirmed.
    
    